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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA                  *

                                          *

v.                                        *   CRIMINAL NO. 11-00102-CG

MARTIN LEDEZMA-DOMINGUEZ                  *
and JOSE MANUEL RUVIRA-
GONZALEZ                                  *

       Defendants.                        *

                  PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, in the Indictment in the above-entitled case, the United States

sought forfeiture of property which represented drug proceeds, and/or property used

to facilitate drug transactions of defendants MARTIN LEDEZMA-DOMINGUEZ

and JOSE MANUEL RUVIRA-GONZALEZ, pursuant to Title 21, United States

Code, Sections 841 and 846;

       AND WHEREAS, based upon the superseding indictment and the jury’s

verdict rendered as to the defendants on June 28, 2011, and for the reasons stated,

it is hereby;

       ORDERED, ADJUDGED AND DECREED, that pursuant to Title 21, United

States Code, Sections 841 and 846, and Federal Rule of Criminal Procedure 32.2(b),

the interest of the defendants, MARTIN LEDEZMA-DOMINGUEZ and JOSE

MANUEL RUVIRA-GONZALEZ in the property identified as follows is hereby

condemned and forfeited to the United States for disposition according to law:
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(1) Drug proceeds in the amount of $4,772.00. (Four thousand seven hundred

seventy-two and 00/100 dollars) in United States currency.

      AND WHEREAS, by virtue of said jury verdict, the United States is now

entitled to, pending possible appeal herein, reduce the said property to its

possession and notify any and all potential third parties who have or may have an

interest in the forfeited property, pursuant to Title 21, United States Code, Section

853 and Rule 32.2(b) of the Federal Rules of Criminal Procedure.

      NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND

DECREED:

      That based on the jury’s verdict, and Fed.R.Crim.P 32.2(b)(3), and pursuant

to the defendants’ consent, all right, title and interest of defendants, MARTIN

LEDEZMA-DOMINGUEZ and JOSE MANUEL RUVIRA-GONZALEZ, in the

above-described property is hereby forfeited to and vested in the United States of

America for disposition in accordance with law, subject to the provisions of Title 21,

United States Code, Section 853(n).

      That the aforementioned property is authorized to be held by the United

States Marshals Service or other authorized Federal agency in their secure custody

and control.

      Pursuant to 21 U.S.C. § 853(n)(1) and the Attorney General’s authority to

determine the manner of publication of an Order of Forfeiture in a criminal case,

the United States shall publish notice of this order on an official government

internet site (www.forfeiture.gov) for at least 30 consecutive days.


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      This notice will state that any person, other than the defendant, having or

claiming a legal interest in any of the above described forfeited property must file a

petition with the Court within 60 days of the first date of publication of notice

(which date shall be set forth in the notice). The petition shall be signed by the

petitioner under penalty of perjury, and shall set forth the nature and extent of the

petitioner’s right, title or interest in the forfeited property, the time and

circumstances of the petitioner’s acquisition of the right, title or interest, and any

additional facts supporting the petitioner’s claim and the relief sought. The petition

must be filed with the Clerk of the Court, 113 St. Joseph Street, Mobile, Alabama

36602 and a copy served upon Assistant United States Attorney, Sean P. Costello,

63 South Royal Street, Suite 600, Mobile, Alabama 36602.

      The United States must also, to the extent practicable, provide direct written

notice to any person(s) known to have alleged an interest in the property that is the

subject of the Order of Forfeiture, as a substitute for published notice as to those

persons so notified.

      After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A)

and before a hearing on the petition, discovery may be conducted in accordance with

the Federal Rules of Civil Procedure upon showing that such discovery is necessary

or desirable to resolve factual issues.

      The United States shall have clear title to the property following the Court’s

disposition of all third-party interests, or, if none, following the expiration of the
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period provided in Title 21, United States Code, Section 853(n)(2) for the filing of

third-party petitions.

       Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture

shall become final as to the defendants at the time of sentencing and shall be made

part of the sentence included in the judgment. If no third party files a timely claim,

this Order shall become the Final Order of Forfeiture, as provided by Fed. R. Crim.

P. 32.2(c)(2).

       The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

       The Clerk of the Court shall forward three (3) certified copies of this Order to

Assistant U.S. Attorney Sean P. Costello, U.S. Attorney’s Office, Southern District

of Alabama.

       DONE and ORDERED this 30th day of June, 2011.


                                            /s/ Callie V. S. Granade
                                            UNITED STATES DISTRICT JUDGE




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